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21                       IN THE UNITED STATES DISTRICT COURT
22                             FOR THE DISTRICT OF ARIZONA

23   United States of America,                    No. CR-18-422-PHX-SPL
24                            Plaintiff,          REPLY IN SUPPORT OF MOTION
25                                                FOR FURTHER CLARIFICATION
        v.                                        RE ORDER ALLOWING THE
26                                                GOVERNMENT TO CONTINUE
     Michael Lacey, et al.,                       REVIEW OF PRIVILEGED
27
                              Defendants.         COMMUNICATIONS
28


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1                                   I.         INTRODUCTION
2           Defendants moved for clarification of the Court’s order allowing the Government
3    to continue reviewing privileged attorney-client communications employing a “filter
4    team.” See Doc. 445 (Court’s Order); Doc. 452 (Defendant’s Motion). The principle
5    reasons for doing so were because the Government has been less than clear about the
6    protocols to be used by its “filter team,” and Defendants sought to ensure they would
7    have a meaningful opportunity to object concerning any documents the Government
8    sought to disclose to its “prosecution team.”1 The Government’s response to
9    Defendants’ Motion (Doc. 462; “Resp.”) underscores these concerns and demonstrates
10   why the Court should further clarify its Order to direct that the Government’s “filter
11   team” must disclose to Defendants all documents it contends are not privileged before
12   they are turned over to the “prosecution team.” This is a standard practice required in
13   the case law, and even the DOJ recommends this practice to protect privileges. On the
14   other hand, adopting an approach allowing the Government to make unilateral privilege
15   calls while precluding Defendants from having rights to object would raise serious
16   constitutional problems under the Fifth and Sixth Amendments. Moreover, Defendants’
17   request that the Court follow recognized practices for “filter team” review will make the
18   process more efficient and require less involvement by the Court.
19                                       II.    ARGUMENT
20          A.     The Government Previously Represented that Documents Would Not
                   Be Disclosed to Its Prosecution Team Until After Defendants Had
21
                   Opportunity to Object and the Court Conducted In Camera Review.
22
            The Government’s response to Defendants’ Motion (Doc. 462, “Resp.”) is
23
     confusing, as the Government’s positions are facially contradictory.
24
            The Government asserts, first, that magistrate judges in this District “have
25
     already approved the government’s filter team protocol.” Resp. at 2. However, the
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      Defendants previously requested that the Court require the government to disclose and
28   explain its proposed process for its “filter team” and privilege review (Docs. 235, 324),
     but the Court denied that request (Doc. 345, at 8).
                                                2
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1    search warrants and applications the Government cites do not describe the particulars of
2    any protocol, except to say generally that the government would use a “Filter Team” that
3    would review documents for privilege and would not disclose them to the “Investigative
4    Team” until Defendants had opportunity to object and the Court reviewed the documents
5    in camera. More specifically, the Government stated:
6           [B]efore the Filter Team submits any materials to the Court in camera and
            moves for their disclosure to the Investigative Team, the Filter Team will
7
            confer with counsel for the targets of the investigation and counsel will
8           have an ability to file objections with the Court.

9    Doc. 462-1, at 6; see also Doc. 462-2, at 6.

10          Despite its prior representations that its “filter team” would not disclose

11   documents until after Defendants had opportunity to object and the Court considered the

12   documents in camera, the Government says that following the procedures it proposed

13   “would cause unnecessary delay.” Resp. at 4.2 The Government’s position now is that

14   the “filter team” should be permitted to turn over any and all documents it believes are

15   not privileged, with no notice to or review by Defendants. While the Government

16   asserted before that documents would not be disclosed to the “prosecution team” until

17   after in camera review, the Government now says the Court’s oversight and review

18   should be avoided. The Government also represented before that it would afford

19   Defendants’ counsel “an ability to file objections with the Court,” but obviously that

20   means nothing if, as the Government now advocates, its “filter team” turns over

21   documents to the “prosecution team” without telling Defendants’ counsel or providing

22   the documents before disclosure.

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     2
       As discussed below, this is not true—requiring the “filter team” to provide the
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     documents it proposes to disclose should considerably reduce the documents in dispute,
28   thereby requiring less involvement of the Court and promoting efficiencies.

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1           B.     Case Law Reflects that It Is a Prerequisite of a “Filter Team” Process
                   that the Government Provide to Defendants Documents Proposed to
2
                   be Disclosed, to Allow Meaningful Opportunity to Object.
3
            While most courts have disfavored “taint teams,”3 even those adopting the
4
     minority view have carefully defined and directed processes the government must
5
     follow to ensure protection of attorney-client privilege and due process rights. As the
6
     DOJ itself has written, “courts have generally indicated that evidence screened by a filter
7
     team will be admissible only if the government shows that its procedures adequately
8
     protected the defendants’ rights and no prejudice occurred.” U.S. Dept. of Justice,
9
     Criminal Division, Computer Crime & Intellectual Property Section Search & Seizure
10
     Manual, at 111 (3d ed. Sept. 2009) (citing United States v. Neill, 952 F. Supp. 834, 840-
11
     42 (D.D.C. 1997), and United States v. Hunter, 13 F. Supp. 2d 574, 583 (D. Va. 1998)).
12
            In particular, courts routinely require that government “taint teams” must first
13
     provide to defendants the documents they propose to disclose before turning them over
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     to the “prosecution team,” to allow defendants an opportunity to contest with the Court
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     privilege calls made by the “taint team.” See, e.g., In re Search of 5444 Westheimer Rd.
16
     Suite 1570, Houston, Texas, on May 4, 2006, 2006 WL 1881370, at *2 (S.D. Tex. July 6,
17
     2006) (requiring taint team to identify all potentially privileged documents to allow the
18
     target “the opportunity to challenge the taint team’s privilege determination in Court
19
     before the documents are given to the prosecution team”); United States v. Grant, 2004
20
     WL 1171258 (S .D.N.Y. May 25, 2004) (requiring taint team to provide documents to
21
     defendants to allow them to object to any privilege determinations and to ensure the
22
     Court would resolve any disputes before materials were turned over to the prosecution
23
     team); In re Ingram, 2012 WL 6840538, at *3-4 & n.26 (E.D. La. Apr. 30, 2012) (court-
24
     approved protocol required government to identify documents to give the target “the
25
     opportunity to challenge any privilege determinations before the e-mails are disclosed to
26

27   3
      R. Behm, E. Mahr & J. Schomig, “Trust Us”: Taint Teams and the Government’s
28   Peek at Your Company’s Privileged Documents, 28 No. 5 ACC Docket 74 (Association
     of Corporate Counsel June 2010) (noting that “courts have disfavored taint teams”).
                                              4
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1    the prosecuting AUSAs,” and directing that “this Court [will] perform an in camera
2    review of any documents when the parties dispute whether an applicable privilege
3    applies”); Heebe v. United States, 2012 WL 3065445, at *3 (E.D. La. July 27, 2012)
4    (“Case law suggests that a clean team using the proper procedure will review documents
5    and distinguish those which are potentially privileged from those which it believes are
6    not privileged, at which point the party to whom the documents belong is able to review
7    the documents and identify any objections.”).4
8           This has been called “an essential component—a sine qua non—of a valid taint
9    team procedure.” Preventive Med. Assocs., Inc. v. Commonwealth, 992 N.E.2d 257,
10   271–72 (Mass. 2013). “The defendants’ involvement in the review procedure in
11   particular is a crucial check against the potential for mistakes or abuse by the taint
12   team.” Id.; see also In re Grand Jury Subpoenas, 454 F.3d 511, 523 (6th Cir. 2006)
13   (where holders of privilege would have had no opportunity to dispute taint team’s
14   privilege determination, court “[did] not see any check in the proposed taint team review
15   procedure against the possibility that the government’s team might make some false
16   negative conclusions, finding validly privileged documents to be otherwise”). Indeed,
17   even the DOJ itself suggests that “defense counsel [be allowed] to review the output of
18   the filter team to identify those documents for which counsel intends to raise a claim of
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21   4
       See also United States v. SDI Future Health, Inc., 464 F. Supp. 2d 1027, 1039 (D. Nev.
22
     2006) (“Because the Government did not provide or implement any procedure for
     notifying SDI of the taint attorney’s privilege decisions or afford SDI an opportunity to
23   challenge those determinations in court before the documents were provided to the
     prosecution team, it is doubtful that the court would have approved the Government’s
24   taint procedures if SDI had challenged them.”); United States v. Warshak, 2007 WL
25   1100434, at * 1 (S.D. Ohio Apr. 10, 2007) (requiring all potentially privileged
     documents be produced to defendants to allow them to “review such materials and seek
26   judicial intervention prior to any disclosure to the prosecution”); United States v. Taylor,
     2010 WL 2924414, at *1 (D. Me. July 16, 2010) (amending filter team protocol to add
27
     “a proviso that [the defendant] be afforded the opportunity to seek court review prior to
28   the turnover of any arguably privileged documents to the prosecution”).

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1    privilege.” DOJ Computer Crime & Intellectual Property Section Search & Seizure
2    Manual, at 111.5
3           Here, the Government states that “the Filter Team will confer with counsel for the
4    affected parties, as appropriate, and counsel will have the ability to file objections with
5    the Court.” See Doc. 462-2, at 6-7; see also Resp. at 2. It should not be left to the
6    Government to determine whether and when it thinks it is “appropriate” to provide
7    notice to Defendants. In any event, the case law makes clear the Government must
8    identify and provide the specific documents its “filter team” proposes to produce to the
9    “prosecution team,” and a vague commitment merely to “confer” with Defendants’
10   counsel is a far cry short of what courts have required.
11          C.     Requiring the Government to Identify to Defendants Documents the
                   Filter Team Proposes to Disclose Will Improve Efficiency.
12
            Finally, the Government contends that if it is required to identify and provide to
13
     Defendants the documents the “filter team” proposes to turn over to the prosecutors, this
14
     “would eliminate all efficiencies … because it would require three separate reviews” and
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     require the “Court to shoulder the burden of reviewing all material.” Resp. at 4
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     (emphasis in original). It is frankly difficult to understand what the Government is
17
     talking about, as courts recognize—and the DOJ itself has said—that it is more efficient
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     for defendants to have the opportunity to see documents a “filter team” proposes to
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     disclose and then to be able to object to selected documents. See, e.g., United States v.
20
     Grant, 2004 WL 1171258, at *3 (procedure of initial review by Government’s privilege
21
     team followed by Defendants having opportunity to review and assert objections
22
     concerning selected documents proposed to be produced “will narrow the disputes to be
23
     adjudicated and eliminate the time required to review the rulings of the special master or
24
     magistrate judge”); accord In re Search of 5444 Westheimer Rd., 2006 WL 1881370, at
25

26
     5
       See also U.S. Dept. of Justice, United States’ Attorneys Manual § 9-13.420 (indicating
27
     that in searches of attorney files, prosecutors should consider “afford[ing the subject] an
28   opportunity to participate in the process of submitting disputed documents to the court
     by raising specific claims of privilege”).
                                               6
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1    *2; see also DOJ Computer Crime & Intellectual Property Section Search & Seizure
2    Manual, at 111 (“hav[ing] defense counsel review the output of the filter team to
3    identify those documents for which counsel intends to raise a claim of privilege” helps
4    “limit the amount of potentially privileged material in dispute”).
5           Following the customary practice here, as Defendants urge, will narrow the
6    documents in dispute and at least reduce if not eliminate the need for Court involvement.
7    The Government’s “filter team” would provide to Defendants’ counsel those documents
8    it believes are not privileged (and that it proposes to turn over to the “prosecution
9    team”). This presumably will be a small portion of the 10,000-plus documents the
10   “filter team” has segregated as potentially privileged—likely the overwhelming majority
11   of documents to or from attorneys will be privileged.6 Defendants’ counsel would then
12   review this subset. If documents are not privileged, counsel for Defendants and the
13   “filter team” presumably can reach agreement about disclosure. The Court would not
14   have to intervene or conduct in camera review except as to those remaining documents
15   about which the parties still have a dispute regarding privilege.
16          In contrast, under the process the Government apparently advocates—i.e., that its
17   “filter team” would have the final say about disclosure of any documents to the
18   “prosecution team”—the Court would be called upon to review all such documents and
19   address privileged determinations for each one. This is so because the Government’s
20   improper access to privileged communications is an error of constitutional significance,
21   and, to protect against such errors and prejudices, Defendants would have no choice but
22

23

24   6
      Documents that the “filter team” believes are privileged should be provided to
25   Defendants and purged from the Government’s document collection, because the
     Government has no right to have or continue to hold privileged materials. This too is a
26   customary provision of a taint team review protocol. See In re Grand Jury Subpoenas,
     454 F.3d at 517 (noting that the Government’s proposed protocol called for returning
27
     privileged documents to the subpoenaed party and defendants, to help avoid the “leaking
28   of privileged materials to investigators”).

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1    to ask that the Court review and assess privilege determinations for all documents before
2    they are disclosed.7
3                                     III.    CONCLUSION
4           To the extent the Court has determined to allow use of a “filter team” for review
5    of privileged communications, it should require that the Government follow procedures
6    as called for by the case law to ensure fairness and reduce the risk of prejudice. In
7    addition to requiring that the Government’s “filter team” be wholly separate from and
8    not communicate with its “prosecution team,”8 the Court should direct that:
9           1. Any and all privilege calls made by the government’s filter team must respect
10             this Court’s rulings that communications among or involving Messrs. Ferrer,
11             Larkin, Lacey, their companies, and counsel are privileged, and Ferrer cannot
12             waive these privileges. See, e.g., Doc. 345 at 4. The Government has agreed
13             this restriction is appropriate. Resp. at 3.
14          2. The “filter team” must segregate attorney-client and work product
15             communications it believes are not privileged before turning those materials
16             over to the government’s “prosecution team.” The Government agrees to this
17             as well. Resp. at 3.
18          3. The “filter team” must provide to Defendants all documents it believes to be
19             privileged and purge those documents from the Government’s collection of
20             materials.
21          4. The “filter team” must produce any and all documents it believes are not
22             privileged (and proposes to turn over to the “prosecution team”) to
23             Defendants’ counsel for review and to permit objections.
24

25   7
      And, to be clear, Defendants hereby make this request in the alternative, if the Court
26   decides not to follow the customary practice of allowing Defendants to review and make
     objections to the documents the “filter team” would disclose.
27   8
       Defendants’ counsel have requested that the Government identify the individuals who
28   will serve on the “filter team,” and the Government’s counsel has agreed to do so when
     the team is established and before it resumes work.
                                               8
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1     5. Counsel for the parties should meet and confer about any privilege claims or
2        objections Defendants assert, to attempt to narrow or eliminate disputes.
3     6. As to any remaining disputes, Defendants may seek relief from the Court (or a
4        magistrate, as the Court may direct), including by way of in camera review of
5        selected, disputed documents.
6     7. The Court will then rule on disputed privilege claims and whether given
7        documents may be disclosed to the “prosecution team.”
8     DATED this 27th day of February, 2019.
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1                                CERTIFICATE OF SERVICE
2          I hereby certify that on February 27, 2019, a true and correct copy of the
3    foregoing document was electronically filed with the Clerk of the United States District
4    Court of the District of Arizona by using the CM/ECF system, and that service will be
5    accomplished by the CM/ECF system to all counsel of record.
6
                                       s/ James C. Grant
7                                      James C. Grant
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